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     MICHAEL CHASTAINE, State Bar #121209
 1   THE CHASTAINE LAW OFFICE
     101 Parkshore Drive, Suite 100
 2   Folsom, CA 95630
     Telephone: 916-732-7150
 3
     Attorney for Defendant
 4
     Rajinder Kaur Dhillon, (II)
 5
 6                          IN THE UNITED STATES DISTRICT COURT
 7                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                             ) Case No.: 12 CR 300 JAM
     UNITED STATES OF AMERICA,                 )
10                                             ) WAIVER OF DEFENDANT’S
                     Plaintiff,                ) PRESENCE
11                                             )
            v.                                 )
12                                             )
     Rajinder Kaur Dhillon,(II).,              )
13                                             )
                     Defendants.               )
14
15
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the
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     defendant, Rajinder Kaur Dhillon, hereby waives the right to be present in person
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     in open court upon the hearing of any motion or other proceeding in this case,
18
     including, but not limited to, when the case is set for trial, when a continuance is
19
     ordered, and when any other action is taken by the court before or after trial, except
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     upon arraignment, plea, empanelment of jury and imposition of sentence.
21
     Defendant hereby requests the Court to proceed during every absence of her which
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     the Court may permit pursuant to this waiver; agrees that her interests will be
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     deemed represented at all times by the presence of her attorney, the same as if
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25
     defendant were personally present; and further agrees to be present in court ready

26   for trial any day and hour the Court may fix in her absence.

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 1          Defendant further acknowledges that she has been informed of her rights
 2   under Title 18 U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes her attorney
 3   to set times and delays under that Act without defendant being present.
 4
 5   Dated: September 5, 2012              ___/s/Rajinder Kaur Dhillon___
 6                                                Rajinder Kaur Dhillon
 7                                                (Original retained by Attorney.)
 8
 9   I agree with and consent to my client’s waiver of appearance.
10
11
     Dated: September 5, 2012                     Michael Chastaine /s/_______
12
                                                  Michael Chastaine
13
                                                  Attorney for Rajinder Dhillon
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15
     It is so order
16
17
     Dated: 9/6/2012                              /s/ John A. Mendez______
18                                                John A. Mendez
19                                                U. S. District Court Judge
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